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                        BEFORE THE UNITED STATES JUDICIAL
                        PANEL ON MULTIDISTRICT LITIGATION



 In re Entresto (Sacubitril/Valsartan) Patent           MDL No. ____________________
 Litigation




                       DECLARATION OF CHRISTOPHER E. LOH

       The undersigned submits this declaration in support of Plaintiff’s Motion For Transfer Of

Action To The District Of Delaware Pursuant To 28 U.S.C. § 1407 For Coordinated And

Consolidated Pretrial Proceedings, filed concurrently herewith, and declares as follows:

       1.      I am a partner at Venable LLP and am litigation counsel for Plaintiff Novartis

Pharmaceuticals Corporation (“Novartis”) in the four actions at issue in the aforementioned 28

U.S.C. § 1407 motion: Case No. 1:19-cv-01979-LPS (D. Del.), Case No. 1:19-cv-02021-LPS (D.

Del.), Case No. 1:19-cv-02053-LPS (D. Del.) and Case No. 1:19-cv-00201-IMK (N.D. W. Va.)

       2.      I understand that, in September 2019, Novartis received 19 notice letters

informing Novartis that 19 generic drug companies had filed abbreviated new drug applications

(“ANDAs”) with the United States Food and Drug Administration (“FDA”) seeking FDA

approval to make generic versions of Novartis’s Entresto® (sacubitril/valsartan) drug product.

Those generic sacubitril/valsartan ANDAs are the subjects of the four actions at issue in the

aforementioned 28 U.S.C. § 1407 motion.

       3.      In September 2019, I emailed the counsels named in 17 of those 19 notice letters

to inquire whether the following ANDA filers and certain related entities would agree to litigate

patent action(s) concerning their respective sacubitril/valsartan ANDAs in the District of




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Delaware, and would agree, only for the purposes of such action(s), not to challenge personal

jurisdiction or venue in the District of Delaware:

               •   Alembic Pharmaceuticals Limited

               •   Alkem Laboratories Ltd.

               •   Biocon Pharma Limited

               •   Crystal Pharmaceutical (Suzhou) Co., Ltd.

               •   Dr. Reddy’s Laboratories, Inc. and Dr. Reddy’s Laboratories, Ltd.

               •   Hetero USA Inc., Hetero Labs Limited, and Hetero Labs Limited Unit III

               •   Laurus Labs Limited

               •   Lupin Atlantis Holdings, S.A.

               •   Lupin Limited

               •   Macleods Pharmaceuticals Ltd. and Macleods Pharma USA, Inc.

               •   MSN Laboratories Private Limited and MSN Pharmaceuticals Inc.

               •   Mylan Pharmaceuticals Inc., Mylan Inc., and Mylan Laboratories Limited

               •   Nanjing Noratech Pharmaceutical Co., Limited

               •   Natco Pharma Limited

               •   Novugen Pharma (Malaysia) Sdn. Bhd.

               •   Torrent Pharmaceuticals Ltd.

               •   Zydus Pharmaceuticals (USA) Inc.

       4.      Except for Mylan’s counsel, all counsels for the above-listed ANDA filers and

related entities have indicated to me that the above-listed ANDA filers and related entities will

not contest personal jurisdiction or venue in the District of Delaware for purposes of patent

litigation concerning their respective sacubitril/valsartan ANDAs.

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       5.      As for the other two notice letters, I did not similarly email counsel for the two

ANDA filers identified therein—Aurobindo Pharma USA Inc. and Teva Pharmaceuticals USA,

Inc.— because it is my understanding that those ANDA filers are incorporated in Delaware and

thus are subject to personal jurisdiction and venue in the District of Delaware.

       I declare under penalty of perjury that the foregoing is true and correct.



Dated: December 20, 2019                             /s/ Christopher E. Loh
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